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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 19-mj-00139-SKC-3

UNITED STATES OF AMERICA,

             Plaintiff,

v.

      1. CARLOS ROBERT PEREZ-RODRIGUEZ,
      2. DOUGLAS DANIEL AMAYA-ARRIAGA, AND
      3. AMILCAR ENRIQUE AGUILAR-HERNANDEZ.

             Defendants.


                              NOTICE OF DISPOSITION


        AMILCAR ENRIQUE AGUILAR-HERNANDEZ, by and through counsel, Jennifer

Beck, Assistant Federal Public Defender, hereby notifies this Honorable Court that a

disposition has been reached in his case with the government. The defendant would

request a change of plea hearing for the court to consider a proposed plea agreement.

Given the recommendation from the government, and Mr. Aguilar-Hernandez’s amount

of presentence confinement credit, the parties request a change of plea hearing be set

as soon as possible.




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      Respectfully submitted this 30th day of July, 2019.



                                        Respectfully submitted,

                                        VIRGINIA L. GRADY
                                        Federal Public Defender



                                        s/ Jennifer Beck
                                        JENNIFER BECK
                                        Assistant Federal Public Defender
                                        633 17th Street, Suite 1000
                                        Denver, CO 80202
                                        Telephone: (303) 294-7002
                                        FAX: (303) 294-1192
                                        Email: Jennifer_Beck@fd.org
                                        Attorney for Defendant




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                               CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2019, I filed the foregoing NOTICE OF
DISPOSITION with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the following e-mail address:

       Rajiv Mohan, AUSA
       Email: Rajiv.Mohan@usdoj.gov

I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s
name:

       Amilcar Aguilar-Hernandez          (via U.S. Mail)



                                          s/ Jennifer Beck
                                          JENNIFER BECK
                                          Assistant Federal Public Defender
                                          633 17th Street, Suite 1000
                                          Denver, CO 80202
                                          Telephone: (303) 294-7002
                                          FAX: (303) 294-1192
                                          Email: Jennifer_Beck@fd.org
                                          Attorney for Defendant




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